Case 2:03-cv-02939-.]DB-dkv Document 131 Filed 05/05/05 Page 1 of 2 Page|D 109

   

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FoR THE WEerRN DISTRICT oF TENNEssEE N c _, _
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ELLrPsrs, rNC,, Lr.rrt(_jo
Piainurr,
v. NO. 03-2939 Bv

THE COLOR WORKS, INC.,

Defendant.

 

ORDER OF REFERENCE

 

Before the Court is the l\/[ay 2, 2005 motion for a protection order and to quash subpoena to
take the deposition of Attorney David L. Bourland ofthe Plaintiff, The Color Worl<s, lnc. This
matter is hereby referred to the United States l\/lagistrate Judge for determinationl Any objections
to the magistratejudge's order shall be made in Writing Within ten (lO) days after service o l`tlie order1
setting forth particularly those portions of the order objected to and the reasons for the objections
Failure to timely assign as error a defect in the magistratejudge’s order will constitute a waiver of
that objection S_ee Fed. R. Civ. P. 72(a)

rr rs so oRDERED this ~l§k day OrMay, 2005

deed

@IEL BREEN
U§B D STATES DlSTRlCT JUDGE

Thls document entered on the docket sheet in compliance

with Rule 58 and/or 79(a) FRCP on
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This notice confirms a copy of the document docketed as number 131 in
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ESSEE

 

Daniel Warren Vari Horn
ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

l\/lemphis7 TN 38103--246

J ames G. Sammataro
AKERMAN SENTERFITT
1 S.E. Third Ave.

28th 11.

1\/liami7 FL 33131

Megan J. Knight
AKERMAN SENTERFITT
1 S.E. Third Ave.

28th Floor

1\/liami7 FL 33131--171

John Marshall J ones

BOURLAND HEFLIN ALAREZ & l\/[[NOR
5400 Poplar Avenue

Ste. 100

1\/lemphis7 TN 38119

John J. Hetlin

BOURLAND HEFLIN ALAREZ & l\/[[NOR
5400 Poplar Avenue

Ste. 100

1\/lemphis7 TN 38119

Merrick L. Gross
AKERMAN SENTERFITT
1 S.E. Third Ave.

28th Floor

1\/liami7 FL 33131--171

Honorable J. Breen
US DISTRICT COURT

